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                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                             BILLINGS DIVISION


 UNITED STATES OF AMERICA,
                                                 CR21-79-BLG-SPW
                      Plaintiff,

 vs.                                          ORDER


 SIGNAL PEAK ENERGY LLC.,

                      Defendant.


       This order refers Defendant's Motion for Initial Appearance and to Change

Plea(Doc. 4), pursuant to 28 U.S.C. § 636(b)(1)(B) and Rule 59(a), Fed. R. Crim.

P., to United States Magistrate Judge Timothy J. Cavan for purposes of scheduling

and conducting the initial appearance and change of plea hearing.

       DATED this         day of September, 2021.



                                            SUSAN P. WATTERS
                                            United States District Judge
